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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                             MDL 2724
PRICING ANTITRUST LITIGATION                               16-MD-2724

                                                           HON. CYNTHIA M. RUFE
THIS DOCUMENT RELATES TO:

ALL ACTIONS


                               PRETRIAL ORDER NO. 127
                            (GENERAL STATUS CONFERENCE)

       AND NOW, this 5th day of June 2020, it is hereby ORDERED that a General Status

Conference will be held on July 9, 2020 at 1:30 p.m. in Courtroom 12-A, United States

Courthouse, 601 Market Street, Philadelphia, Pennsylvania with all counsel and the Special

Masters. Because of the continuing COVID-19 pandemic, the Court strongly encourages

counsel to participate by telephone. As it may be necessary to limit the number of people in the

courtroom, only one attorney representing a party may appear in person, and counsel who intend

to appear in person shall notify the appropriate Liaison Counsel no later than June 24, 2020. No

later than July 1, 2020, Liaison Counsel shall submit to the Court a list of proposed attendees and

shall file a joint proposed agenda that includes a call-in number for those participating by

telephone. Counsel who appear in person shall comply with all Standing Orders related to the

response to COVID-19, which are available on the Eastern District of Pennsylvania website at

http://www.paed.uscourts.gov/response-to-covid-19.

       It is so ORDERED.

                                                      BY THE COURT:
                                                      /s/ Cynthia M. Rufe
                                                      ____________________
                                                      CYNTHIA M. RUFE, J.
